a,

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780 Landmark Drive #803G FEB 2 9 2016
Casper, Wyoming .
Defendant, _} BITRE WE RGGA Cooney
xv.
AFFIDAVIT FOR SEARCH WARRANT

1, Bruce Daxter, baing first duly sworn according to law, on my oath, depose and say:

Exhiblt B
THE STATE OF WYOMING =}
} 85, BEFORE:
CIRCUIT COURT of the } JUDICIAL OFFICER
COUNTY OF NATRONA }
THE STATE OF WYOMING }
Plaintiff, }
! ILE
Vs. }
}
}
}

Within the residence of 760 Landmark Oriva, apartment #603G, which Is further described as:
An apartment, clearly identified by the numerals 603 on its white entry door. The Individual
apartment Is tacated within a beige and white apartment bullding, clearly identified by the letter
°G" affixed to the outside of the building. The apartment building and apartment are located at
760 Landmark Drive, which [s located in the City of Casper, County of Natrana, Stata of
Wyoming:

   

There Is being concealed:

Certain property as described in the "List of Items To Be Selzed," annexed and attached
hereto ag Exhibit °A*, and made a part hereof by this rafarance.

Which Is designed or lntended for use or which ts or has been used as a means of committing
a criminal offense In violation of Wyoming Statue 6-4-303.

Is possassed, controled, or designed er Intended for use which ts or has been used In
violation of any lav,

Consists of an item or constitutes evidence which tends te show @ crime has been committed,
or tands to shaw that a particular person has committed a crime In violation of Wyoming Statue 6-
4-303.

That under provisions of Rule 41 of the Wyoming Rules of Criminal Procedure, a Judicial
Officer for the Jurisdiction wherein the property sought Is facated may lasua a search warrant to
search for and seize any property which constitutes avidance that tends to show a crime was
commitied and that 4 particular parson committed that crime.

That Affiant requests a search warrant be Issued by this court authorizing and directing the

warrant officer to search the herel deserlbad place to be searchsd for the above described
Property, and dectares that the grounds for Issuance of sald warrant are as follows:

EXHIBIT

A

 
Case 2:16-cr-00104-SWS Document 44-1 Filed 09/26/16 Page 2 of 10

Ir 4 iby
FEB
INVESTIGATOR BACKGROUND 29 206

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ay TCS on
a) Speclal Agent, Bruce Dextar, hereafter referred to ag Affiant, is a certified Wyoming Fed
employed as a swom spacial agent with tha Wyoming Clviston of Crimiaal Investigation (DCH.

Affiant ts assigned to OCI Intemet Crimes Agalnst Children Task Foree (ICAC). Affiant was first
certified ag a professional peace officer in Wyoming In 1982. Affant has 39 years of law
enforcement experlenca and spent 20 4 years with the Laramis County Shorffs Department
before retiring and folning the Division of Criminai Investigation in October of 2006.

b} Afflant has approximately 2900 hours of talning recognized and certified by tha Wyoming Paace
Officers Standards and Training commission and has been trained In the Investigation of
computer use In the exploitation of children and tralned in the mathods of forensle analysis of
computers used in criminal activity. Your affiant also received training on how varlous paer-to-
peer file-sharing networks operate. Affiant has written or participated in over one hundred
search warrants In the State of Wyoming.

c) Afflant has been assigned 40 operate In an undercover capacity on tha Internat by the Director of

the DCI for the purpose of identifying and investigating persons altampting to exploit or solicit
sexual acts with children.

¢) Your affient has aver 200 hours of training related to investigating child expioitation cases and
computer forensics.

DEFINITIONS USED IN THIS AFFIDAVIT

@) Internet Protocol (IP) addrass
An Internet Pratocol address is a number that uniqualy identifies a computer, or other device that
accesses a network, such as the intemat, An IP Is used In network communication and is similar
In concept fo a telephone number.

f} Peer to pear (P2P}
A distributed network architecture, whereby natwark hosts {computers), can share thelr resources
(such as processing power and storage capacity), or files (such as Image and video files) with
other hosts without the need for a central managing devica.

9) Secure Hash Algorithm (SHA)

SHA AND SHA256 are part of a set of cryptographic hash functions designed by the U.S.
National Security Agency (NSA) and published In 2004 by the NIST as 4 U.S, Federal Information
Processing Standard (FIPS}. Cryptographic hash functions are a kind of algorithm ar
mathematical operation run on digital data, and by compacing the result (known as the hash) of
ihe algorithm to a known/expected hash value, a person can determina the data's authenticity. An
example Is runclag a hash on downloaded software and comparing the result to a published hash
of tha software. By doing thls a user can determine if the downloaded data is genuine. Peer-to-
per file sharing systems use these values to assure the contents of filas belng shared across the
network.

h} Block or Split
A S2klloByte {k8} block of data that makes up a file. Those are referenced to and Identified by
the SHA256 hash vaiue of the biock. When Used to Identify a block of a fila, the hash value Is
known as the “key” for the block.

)} Node
A computer on the Intemet running software that allows It to communicate on @ particular paar-to-
peer network,

J} Darkweb ar Deepwab
Terms to daseribe networks and Internet use that ts not obvious or accessible by the causa! usar.
Most P2P and anonymous networks fall Into this catagory.

OPERATION BACKGROUND

k} Affiant knows through tralning and experience that the P2P network targeted In this Investigation
1s commonfy used to obtaln and distribute child pomography. The trading of chifd pornography
on the targeted network occurs on a continual basis and disclosure of tha targeted network's
actyal name would potentially alert users of enforcement actlan against these using the targeted
network to obtaln and distribute chiid pornography. This knowledge would likely encourage users
of the targated network to dastray avidence of illegal activity. Accardingly, for purposes of the
confidentiality and Integrity of the ongoing investigation Involved tn this matter, specific names
and other Identifying factors have basn replaced with generlc terms and the network will be
identified as the ‘targeted network".

 

1) Afflant knows the actual name of the targeted network. Affiant also knows through training
axperence that because of the way In which the targeted network operates, it is considera

ri
to Wyoming DCI
operate on the Darkweb or Dagpweb,

   

enclosure No, —

 

 
 

 
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mm) Your Affiant knows from training and oxpedance that because of the way the targeted network
operates, it Is adept at keeping a user's activity ralatively anonymous. Because of this, the
nebvork has altracted persons that wish to collect and/or share child pornography files. The
targeted network has not been found to be a significant source of music, adult pornography,
theatrical movies or other copyright material

n} ‘Your Affiant knows that the targeted network is an Internat based, peerto-pear netvork, which
attempts fo fet users anonymously shara files and communicate (chat) on forums. The targeted
network utilizes frea software and the source coda Is publicly available.

o} Your Affiant knows that communications betveen computers running the targeted network
software (known as nodes) are encrypted and routed through other targeted network nodes.
Because of the method in which computer to computer communication occurs on the targated
network, tt is difficult to determine who may be the actual requestor of child pornography files and
whe Is just relaying tha request message on behalf of another requesting computer.

p) Your Affiant knows from training and experience that files, or portions af files (known as blacks),
aré slored on nedas In the targeted network. The files, or portions of files (blocks), are uniqualy
identified on the targeted network by what Is known of as a key. The kay Is a sequance of
alphanumerle characters and uniquely identifies the file, or portion of file, throughout the network.
Because of encryption, parsons operating computers with stored blocks, are likely ta not know the
content of blacks being stored on their computers.

q) Your Affiant knows from training and experience that the file poclions are distributed across nodes
‘on the targeted network, When a user on the targeled nebverk wants a file, the software la used
to create a requast message for the different fie blocks, Identified by thelr kays. Those request
messages are broadcast on the targeted network follawing the nebwork communication protocol
in an attempt to locate a computer on the network that has that particular block stored.

1) Your Affiant knows from training and experience that Intermet computers HKdentify each other by an
Internet Protoce! or [P address. Your Affiant knows that these IP addresses can assist law
enforcement In finding the location of a particular computer on the internet. These IP addresses
lead the law enforcement officer to a particular [Internet servica provider or company (ISP). Given
the date and time tha IP address was used, an {SP can typically Identify the account holder by
name and physica! address.

3) Your Affiant knows from training and experience that someone requesting blocks of a file has
taken substantial steps to install software to operate on the targeted network and additlonal steps
ta locate a file's “key” In order to facilitate a downtoad of that block. The Network provides no
search mechanism common te other file sharing systams, A subject desiring to download a file
must first find the key(s) associated with the file, such as on a webslita or message board,

t) In Saptembar 2011, law enforcement officers began an undercover opsration collecting keys and
les belng pubilcty shared on the targated network, in order to build a data base of keys
associated with known or suspected child pamography.

u} In Apdl 2012, law enforcement officers began runaing copies of software on tha targeted network
that had been medified far law enforcemant to log the 1P addrass, key, and date and time of
tequests that ware sant to these law anforcement nadas. These keys are then compared to keys
of knawn child pornography ta identify IP addresses soliciting child pornegraphy.

¥) Your Affiant knows that the Information collected by the law enforcement varsion of tha software
UP addresses, keys, date and tima}, ts also readily available through use of the public varslon{s}
of the software, The law enforcement version slmply makes collection and storage of the
Information automatic so that It can later be analyzed.

Ww

Your Affiant knows from training and experience, that muitiple requests for blocks of a particular
file from a particular (P address can be evaluated te determine if the computer at a partleutar IP
address is the likely requester of the file, as apposed te merely passing on a request originating
from another user,

x} Your Afflant knows from training and experience that over fifty search warrants or consent
searches have been conducted In the United States and Canada by using the above method of
invastigation. This methed has proven to de relfable In datermining the location of computers that
ware Involved in using software on the targeted network to obtain child pomography. By using the
above method of Investigatlon, nearly evary case was verified through the following means:

1}. Evidence of child pornography was found on the computer(s} or other media.

2.) intarviews of parsons using those computers verified that child pomography had been present
at one time but had been daleted or tha computer with the child pomography had been removed
from the premises.

3.) Evidance of the use of encryplion softwara to hide files was found on the computer,

  
  

 

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Wyoming DCI
Enclosure No > EB 2 8 2616
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CURRENT INVESTIGATION

y) While reviewing requests received by undercover law enforcament nodes. Your Affiant
observed IP address 174,45.200.45 routing and/or requesting suspected child pomography fila
blocks. The number and timing of the requests was significant enough to indicate that the IP address
was the apparent original requester of the file,

2) Your Afflant observed that between 8:41PM UTC on December 26, 2018 and 8:13AM
UTC on December 27, 20165 a computer running software on tha targeted network, at IP address
174.45.200,45, requasted from law enforcament nodes 23,359 parts, or blocks, of the fila named
"lolitad-famex(momdad2daugh).mpg’, (with tha SHA? hash of 6070372e56a4374cd3/660959-
aeQda8755el648a}, Your Affiant has previously downloaded the file with the abova referenced SHAL
value and knows It te be a video file approximately 59 minutes and ¢ seconds In length. It bagins with
title scraen “Tanny-Fite.LOLITA.8” and daplicts a prepubescent femala, an sarly pubescent female, an
adult female, and an adult male engaging In various sexual acts. The background features either a
bed with a black and white print, or a couch with a circular orange, black, and white print. The movie
contalns several segments, Including, but not limited to: three females, naked, angaging In sexual
acts while on a bed; the pubescent female insarting an orange vibrator Inte the adult's vagina; and the
adult female Inserting an orange vibrator Into tha prapubescent child's vagina.

ga} Your Afflant observed that between 6:49PM UTC on December 26, 2015 and 4:19AM
UTC on Decamber 27, 2015 a computer running software on the targeted nebyork, at IP addrass
174,.45.200.45, requested from law snfercamant nodas 19,839 parts, or blocks, of the file named
“A2ZA (Mom & daughter sax).mpg", (with the SHA1 hash of e¢42319fc8a359043fa207da5-
&bféSbeef916527). Your Affiant has previously downloaded the file with the above referanced SHAT
value and knows It to ba a video file approximately 45 minutes and 29 seconds in length. ht begins
with 4 Close-up of a famale minor, 12-13 years of age. The minor is wearing a dress and takes the
dress off. The famale minor fondles herself, The video than depicts the minor masturbaling a nude
adult woman. The video also depicted the female minor performing oral sex on a nude male that
appeared to be 12 to 15 years old.

bb) Your Affiant observed that between 10:22PM on December 26, 2015 UTC and 5:554M
on December 27, 2015, a computer running software on the targeted network, at IP address
174.45.200.45, requested from law enforcement nodas, 27584.3 parts, or blacks, of the file named
“t4V¥ Gin And Her Litte Sis.mpg’, (with the SHA hash 607c372e56a437ded3/660959-
ae9daa755ef648a), Your Affiant had praviously downloaded tha file with the abave raferenced SHA1
hash and knows ft to be a video file that is approximately one hour, six minutes and 11 seconds long.
There Is a caption or titis on the boltom of the screen that reads *TI93N". The video begins with two
young females. One Is wearing glasses and appears to ba approximately 11-13 years of age. The
second female appears to be younger and approximately 9 - {¢ years of age. An adult mate comas
Into view at 03:13 Inta the video and begins ta manipulate the older gid's clothing and rubs her chest.
Tha male then removes the gin's shirt, Jays her down and starts masturbating the glrl's vagina. The
younger gin looks on. The male performs oral sex on the older girl. He then begins using a vibrator on
the old girl's breasts and vagina. At 34:24 the older gid performs oral sex on the male. The mate
performs intercourse with the older famaie and the video ends with a short clip of the child in a
shower.

cc} Your affiant conducted a Damain Name System (DNS) check on IP address
174,45.200.45 through the American Registry for internet Numbers (ARIN). Information from ARIN
indicated the IP address was registered to Charter Communications.

dd} Your Affiant spoke with Homeland Security investigations Special Agent Nicole Ballay,
who is assigned to the Wyoming DCI ICA Task Force and requested that SA Ballay issue an
administrative summons (CY-2016-00196R) to Charter Communications to identify the subserber of
IP 174.45.200.45 during the time the IP was seen cn The Network. The resulting return dated
January 27, 2016 Included the follawing subscriber Information:

Name: Bonnie Habert
Address: 760 Landmark Drive, Unit 6036
Cascer, Wyoming 82609-4247
IP Information: IP obtained 11/8/2015 and IP réleased 12/27/2015

as) Your Afflant knows that on January 28, 2016 SA Ryan Hleb who Is assigned to the DCI
office In Casper, Wyoming checked the Casper Pollca Deparment for contacts on Sonnle Hebert.
Casper Police records Indicated Bonnie Hebert lived at 760 Landmark Drive, #803G and that on
November 18, 2018 tha Casper Police Department had @ request for a welfare chack on Gonnle
Hebert at that addrass.

ff} Your Affiant knows that on February 4, 2016 Homeland Securlty Invastigations Special
Agant Nicole Balley went to 760 Landmark Drive, Unit 603G and took tha photograph that fs part of

this search warrant and affidavit. i

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gg) Your Affiant checked the State of Wyoming driver's licanse files for information on Bonnta

Hebert. State of Wyoming records Indleated har address was 760 Landmark Drive, 603G, Casper,
Wyoming.

COMPUTER EVIDENCE

hh} Affiant knows from training and experience that uniike other kinds of contraband (2.9.
drugs), Child Pornography Is nat consumed by the user, The vary nalure of computers as a means of
collection, transmisston, and or storage lands Itself to permanent preservation of the actual child
pomography or frace evidence that child pornography once resided on he camputer,

it) Affiant knows from tralning and experience that searches and selzuras of evidence from
computers may require agants to seize most or ali computer items (hardware, software, passwords
ard instructions) to be processed later by a qualified computer expert In & laboratory or other
controled environment. Computer storaga madia to Include but not limited to floppy disks, hard
drives, tapes, DVD disks, CD-ROM disks or athar magnetic, optical or mechanical storage which can
be accassed by computers lo store or retriave cata or Images of chitd bornagraphy ean sicra the
equivatent of thousands of pages of Information. Users may store information or images In random
order with deceptive fila names, which requires searching authorities to examine all the stered data to
determine whether it Is Included In the warrant. This sarting procass renders It impractical ta attempt
this kind of data search on sita.

N Affiant knows from training and experience that searching computer systems for criminal
evidence requires experience In the computer field and 2 properly controlled enviranment in order to
protect the Integrity of the evidence and recover even "hidden", efased, compressed, password-
protected, or encrypted files. Since computer evidence Is extremely vulnerable to tampering or
dastruction (both from extamal sources or from daatructiva code imbedded In the system as a “booby
trap"), the controliad environment of a laboratory is essanilal to tts complete and accurate analysis,

kk) Afflant knows from training and experiance that In order to fully retrlave data from a
computer system, the analyst needs all magnetic storage davicas as wali as thé computer. In
addition, the analyst neads all the system software (operating systems or Intecfaces, and hardware
drivers) and any applications softwara which may have been used to create the data (whether stored
of hard drives or on external media) aa well as documentation, tlems contalning or displaying
ic sswards, access codes, usernamas or other Identiflars necassary to examine or operate ftams,

D

shitware or information selzed or to activate soecific aquipment or software,

 
  
  

N) Affiant knows from training and experience that persone trading in, recelving, distriouting
possessing Images Involving the exploitation of children or those Interested in the actual
latation of children often communicate with others through correspondance or other documents
(whether digital or written) which could tend ta Identify the origin of the Images as wall as provide
dence of a parsons Interest in child pornography or chitd exploitation.

oth,
FEB 2 9 2018

mm} — Affiant knows from training and experlence that files related to tha exploitation of children
found on computers are usually obtained from the Intemet using application software which often
leaves files, logs or file remnants which would tend to show the exchange, transfer, distributlon,
possession or origin of the files.

nn} Aifiant knows from training and experience that computer sofiware or hardware exists
that allows persons to shara Internet access over wired or wireless networks allowing multiple
persons to appear on the Internet from ihe same IP address. Examination of these Items can reveal
Information ebout the authorized or unauthorized use of Internet connection at the residence,

90) Affiant knows from training and experlence that computers used to access tha Internat
usually contain filas, logs or file remnants which would tend to shew ownership and use of the
computer as well as ownership and use of intemet servica accounts used for the internet accass.

pp) Affiant knows from training and experience that computer crima scenes usually include
Items or digital Information that would tend to establish ownership or usa of computers and Internet
access equipment and ownership or usa of any Infomet servics accounts ta paricipate in the
exchariga, receipt, pessession, collection or distribution of child pornography.

qq) Affiant knows from training and axpertence that search warrants of residences involved fn
computer related criminal activity usually produces items that would tend to establish ownership or
use of camputers and ownership or use of any Internet servica accounts accessed to obtain child
pornography to Include credit card bfis, telephone bills, corraspondence and cther Identification
documents,

It} Afflant knows from tralning and experience that search warrants of residences usually
reveal items that would tend ta show dominion and contro! of the proparty searched, to Include utiity
bills, telephone bills, correspondence, rental agraamants and ather identificatton documents.

58) Tha statements contained In thls affidavit are based on this afflant’s personal knowladge

the limited purpose of securing a search warrant, thls affiant has not Included aach and
known te this afflant concarning this investigation,

and infozmation provided by other law enforcement officers. Since this affidavit is being ndlovory facts ony

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th) The above information has led Affiant fo believe that probabie cause exists to belleve that
the items listed In Exhibit A are evidence of the attempted exploitation of children by means of tha
possession and/or receipt and/or attempted distribution of child pomography In violation of Wyoming
Statute §6-4-303 and are concealed in the residence at 760 Landmark Drive, #603G, Casper,
Wyoming.

Further your Affiant sayath naught

Bruce Dexter

Subscribed and sworn to before me on hed 4 day of L403

 
   

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Enclosure a 2

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Case 2:16-cr-00104-SWS Document 44-1 Filed 09/26/16 Page 7 of 10

EXHIBIT A IL [=

LIST OF ITEMS TO BE SEIZED FEB 2 8 2016
RSET QOURT Om saryuseTe Le
{TEMS TO BE SEIZED __ ee
images or visual depictions representing the sossitla exploitation of childran.
Computers
Cellphones or smartphones

Computer Input and output devices to Include but not limited to keyboards, mice, scanners, printers,
monitors, setwork communication devices, modems and external ar connected devices used for
accessing computer storage media.

Computer steraga media and the digital contant to Include but pat Ilmited ta flonpy disks, hard drives,
tapes, DVD disks, CD-ROM disks or other magnetic, optical or mechanical storage which can be
accessed by computers to store or ratrlava data or images of child pornegraphy.

Computer software and applicailon software Installation and operation media.

Computer software, hardware or digital contents relatad to tha sharing of Intarnet accass over wired or
wireless networks allowing multiple persons to appear on the Intemet from the sama IP addrass.

If computers are found fn a running stata the Investigator may acquire evidence fram the computass
prior to shutting the computers off. This acquisition may take several hours depending on the volume of
data, .

Manuals and other documents (whelher digital oe written) that describe operation of Items or software
selzed.

items containing or displaying passwords, accass codes, usernames or other (dentitars necessary to
examine er operate tems, software or Information selzed.

Correspondence or other documents (whether digital or written) pertaining fo the possession, racalpt,
cailection, origin, manufacture or distribution of images Involving tha axplolfatian of childran.

Corraspondance or ather documents (whether digital or written) exhibiting an Interest in tha
exploitation of children.

Items or digital information that would tand to astablish ownership or use of computers and Internat
access equipment and ownership or use of any Intemet service accounts to participate In the exchanga,
recalpt, possession, collection or distribution of child pornography.

Items that would fand to show dominion and contral of the property searched, to Include ultllity bills,
telephone bills, comespondance, rental agreaments, U.S. birth certificate, U.S. passport, conaular report
of birth abroad, certificate of cltizenship, certificate of naturalization, permanent resident card,
amployment authorization document, foraign passport, dector's bills, subscription bills, social security
card, W-2 form, bank slatemant, any officlal or govamment decument, rent recalpt, mortgage document,
vehicle registration, pay stub, tax document, voter registration, report card, magazine bill, doctor's bill and
other identification docum@gts

At the discretion of peaca officers serving the warrant, photographs and videotaped Images may be
obtained of the place to be searched for comparison with images and video recovered rafating to the
Investigation of the exploitation of children.

 

 
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State of Wyoming
Division of Criminal Investigation
Receipt

 

ITEM #

DESCRIPTION

QUANTITY

 

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THE STATE OF WYOMING }
} $5. BEFORE: oe
CIRCUIT COURT of the } JUDICIAL OFFICER
COUNTY OF NATRONA }
THE STATE OF WYOMING }
Plaintiff } f] [L., =
}
Vs. }
} FEB 2 9 2016
760 Landmark Drive #6036 }
Casper, Wyoming } PIRES ot as
Defendan}, } Sli ° 2
SEARCH WARRANT

Te: DC! Special Agents and other law enforcement personnel,

Affidavit having been mada befora me by Bruce Dexter that ha has reason to bellave that:
Within the residence of 760 Landmark Drive, apartment #603G, which Is further described as:
An apartment, clearly Identified by tha numerals 603 on ts white entry door, The individual
apartment Is located within a belge and white apartment butiding, clearly Identified by the letter
“G" affixed to the outside of the bullding. The apartment building and apartment are tocated at
760 Landmark Drive, which Is located in the Clty of Caspar, County of Natrona, State of
Wyoming;

   

 

 

 

There Is being conceala

Gertaln property as described In the “List of Rems To Be Seized,” annexed and attached
harate as Exhibit “A*, and made a part hereof by thls reference:

Which fs designed or Intended fer usa or which Is or has Been used as a means of committing
a criminal offense In victatien of Wyoming State 8-4-3039;

Or which Is possessed, controlled, or designed or Intended for use or which Is or has baen
used In violation of any faw;

Or consists of an item or constitutes evidence which tends to show a crime has been
commitied, or tends ta show that a particular person has committed a crime in violation of
Wyoming Statue 6-4-303;

And as | am satisfied that probable causa has been shown to believe that grounds exist for the
issuance of the Search Warrant, said probable causa for sald grounds baing contained in the
Affidavit of Bruce Dexter annexed and attached hereto as Exhibit °B’, and mada a part hereof by
this referance:

You ara commanded to search tha abova dasctibed premises, vehicles and buildings for the
praperty specified, serving thls warrant and making the search balween the hours of 6:00 a.m.
and 10:00 p.m., and within ten (10) days, and if the property be found thare, to seize K, prepare a
writtan Inventory of the property seized, and bring the Inventory before me.

Dated this a” Hh day of febriter f 2016.

 

dudiclal Officer ! Cl
Cyrtur Ft Court Tip E- Wyorning D

   

Enclosure Ne,

 

 

 

 
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EXHIBIT A I IL [=

LIST OF ITEMS TO BE SEIZED FEB 2 9 2018
ITEMS TO BE SEIZED STE TAL
images or visual depictions reprasenting the possible explottation of cheer

Computers
Cellphones or smartphonas

Computer input and output devices to Include but nat flmited to keyboards, mice, scanners, printers,
monitors, natwork communication devices, modems and extemal or connected davices used for
accessing computer storage media.

Computer storage media and the digital content to include but not iimited to floppy disks, hard drivas,
tapes, DVD disks, CD-ROM disks or other magneile, opical or mechanical! storage which can be
accessed by computers to stora of retriave data or Images of child pornography.

Computer sofware and appileation software Installation and operation media,

Computer software, hardware or digital contents related to tha sharing of Intarmet accass over wired at
wireless networks allowing multiple persons to appear an the Intamet from the same iP address.

{f computers are found In a running state the investigator may acquire evidence from the computers
prior to shutting the computers aff. This acquisition may take several hours dapanding on the volume of
data.

Manuals and other documents (wheather digital or written) that descrlbe operation of tema or software
seized,

Items containing or displaying passwords, access codes, usernames or olher identifiers necessary to
axamine or oparate items, software or information seized,

Corraspondence or other documents (whether digital or wzitten) pertaining to the possesston, receipt
collection, origin, manufacture of distribution of imagas involving the exploitation of children.

Carraspondence or other documents (whather digital or written) exhibiting an interest fn the
exploitation of childran.

items or digital information that would tend to establish ownership or use of computers and Intecnet
access equipment and ownership ar use of any Intamel service accounts to participate In the exchange,
fecaipt, possession, collection or distébution of child pomagraphy.

Items that would tend to show dominion and contre! of the property searched, fo include utility bills,
telephone bills, correspondence, rental agreements, U.S. birth certificate, U.S. passport, consular report
of birth abroad, cartificate of cltizenship, certificate of naturalization, parmenent resident card,
employment authorization document, faralgn passport, doctor's bills, subscription bills, social security
card, W-2 form, bank siatement, any official or government document, rent receipt, morgage document,
vehicle registration, pay stub, tax document, voter registration, report card, magazine bil, doctor's dill and
other identification documents

At the discretion of peace officers serving tha warrant, photographs and videotaped images may ba
obtained of tha place to ba searched for comparisan with images and video recovered refating to the
Investigation of the exploitation of chifdren.

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